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FOR THE wESTERN DISTRICT 0F TENNESSEE
WESTERN I)IVISION Fllfl) 1311 %” w

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RICHARD A. BOWER EQUAL
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EMPLOYMENT OPPORTUNITY
COMMISSION, ERNEST O. MCKNATT,
and JOHN OSWALD

Plaintiffs,
CIVIL ACTION NO. 94-2862 D

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)
RICHARD A. BOWER, )

Plaintiff-Intervenor,

SHARON HERDRICH, LUIS MORALES,
And TIM WEISE,

)

)

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)
Plaintiff-Intervenors, )
)

)

§
FEDERAL EXPRESS CORPORATION, )
)

)

Defendant.

 

ORDER ON PLAINTIFF’S MOTION TO ADMIT COUNSEL PRO HAC VICE
AND SUBSTITUTE COUNSEL

 

lt is ORDERED that Jennifer Pesek is admitted pro hac vice in this case as counsel representing
plaintiff-intervenors, Herdrich, Morales and Weise, as substitute for Callan G. Carter.

Emeredrhis /0"/' day of ,2005.

    

RNICE B. ONALD
UNITED STATES DISTRICT JUDGE

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T!¥`s document entered on the docket sheit'y'\ compl‘@nce
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Honorable Bernice Donald
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